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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, REV. CLEE
EARNEST LOWE, DR. ALICE
WASHINGTON, STEVEN HARRIS, BLACK
VOTERS MATTER CAPACITY BUILDING
INSTITUTE, and THE LOUISIANA STATE
CONFERENCE OF THE NAACP,
                                                       CIVIL ACTION NO. 3:22-cv-00178
                                                       SDD-SDJ
           Plaintiffs,

v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana

           Defendant.



                          CERTIFICATE OF INTERESTED PERSONS

       Pursuant to M.D. La. Local Rule 7.1, the undersigned counsel provide the following

complete list of all persons, associations of persons, firms, partnerships, corporations, guarantors,

insurers, affiliates, parent or subsidiary corporations, or other legal entities that are financially

interested in the outcome of the case:

       Plaintiffs: Dr. Dorothy Nairne, Rev. Clee Earnest Lowe, Dr. Alice Washington, Steven

Harris, Black Voters Matter Capacity Building Institute, and Louisiana State Conference of the

NAACP, represented by American Civil Liberties Union Foundation attorneys Megan C. Keenan,

Sarah Brannon, Sophia Lin Lakin, and Dayton Campbell-Harris; Legal Defense Fund attorneys

Stuart C. Naifeh, Victoria Wenger, I. Sara Rohani, and Colin Burke; Harvard Law School Election

Law Clinic attorneys Tiffany Alora Thomas-Lundborg and Daniel Hessel; ACLU of Louisiana

attorneys Nora Ahmed and Stephanie Willis; Cozen O’Connor attorneys Michael de Leeuw,
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Amanda Giglio, Josephine Bahn, and Robert Clark; and attorneys John Nelson Adcock and Ron

Wilson.

       Defendant: Nancy Landry, in her official capacity as Secretary of State for Louisiana,

represented by Shows, Cali & Walsh, LLP attorneys John Carroll Walsh and Brooke R. Ydarraga;

and Nelson Mullins Riley & Scarborough LLP attorneys Alyssa Riggins and Phillip Strach.

       Intervenors: State of Louisiana, by and through Attorney General Elizabeth Baker Murrill,

represented by Louisiana’s Office of the Attorney General attorneys Elizabeth Baker Murrill,

Carey T. Jones, and Amanda Marie LaGroue; and Holtzman Vogel Baran Torchinsky & Josefiak

PLLC attorney Jason B. Torchinsky. Clay Schexnayder and Patrick Page Cortez, in their official

capacities as Speaker of the Louisiana House of Representatives and President of the Louisiana

Senate, succeeded by Phillip DeVillier and Cameron Henry, in their official capacities as Speaker

of the Louisiana House of Representatives and President of the Louisiana Senate, in accordance

with Fed. R. Civ. P. 25(d), represented by Baker & Hostetler LLP attorneys Richard B. Raile,

Katherine L. McKnight, E. Mark Braden, Michael W. Mengis, Patrick T. Lewis, Erika Dackin

Prouty, and Robert J. Tucker. United States of America, represented by U.S. Department of Justice

attorney Noah Bokat-Lindell.


Date: March 5, 2025                             Respectfully submitted,


                                                /s/ John Adcock              .
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                                CERTIFICATE OF SERVICE

       I certify that on March 5, 2025, this document was filed electronically on the Court’s

electronic case filing system on behalf of all parties. Notice of the filing will be served on all

counsel of record through the Court’s system. Copies of the filing are available on the Court’s

system.

                                                  /s/ Megan C. Keenan         .
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